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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


United States of America,           )
                                    )                No. 2:19-cr-00441-RMG
             vs.                    )
                                    )
Amir Golestan,                      )
                                    )                ORDER
                  Defendant.        )
                                    )
____________________________________)

       This matter comes before the Court on the issue of the revocation of Defendant’s bond

pursuant to 18 U.S.C. § 3143(a). The Court conducted a hearing on this matter on July 22, 2022

and heard from Defendant as well as defense and government counsel.

       By way of background, Defendant was indicted on 20 counts of wire fraud by the federal

grand jury on May 14, 2019. (Dkt. No. 1). A magistrate judge granted his request for bond, which

was set at $500,000 unsecured. (Dkt. No. 15). Trial was commenced in this matter on November

15, 2021. In the midst of trial, on November 16, 2021, Defendant advised the Court that he wished

to plead guilty to all 20 counts without a plea agreement. (Dkt. No. 105). At that time, Defendant’s

bond was modified to provide for home detention, GPS monitoring, and surrender of his passport.

(Dkt. No. 106).

       Since the modification of Defendant’s bond on November 16, 2021, significant

developments have occurred. Defendant was sentenced to 10 months of incarceration for contempt

by a family court judge presiding over his divorce proceedings. Thereafter, Probation issued a

Presentence Report which calculated Defendant’s sentencing guidelines at 15-21 months of

incarceration. (Dkt. No. 121).     The Court subsequently gave Defendant notice that it was

considering an upward variance from his sentencing guidelines. (Dkt. No. 132). Further, the Court

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was advised by Probation that Defendant had failed to provide his probation officer an address

where he will reside upon release from state custody on July 24, 2022 despite multiple requests he

do so.

         The Court was informed at the July 22, 2022 hearing that Defendant had arranged to reside

temporarily in a local motel upon his release from state custody on July 24, 2022 and would move

into an apartment rented by his mother after she arrived from Dubai on July 27, 2022. Defendant

noted that he had appeared at every court proceeding and was allowed, prior to his conviction, to

travel overseas and had returned to the United States on each occasion. Further, Defendant stated

that he had surrendered his passport.

         The granting of bond to a defendant who has pled guilty and is awaiting sentencing requires

a showing of clear and convincing evidence that he is not likely to flee. 18 U.S.C. § 3143(a). Based

upon the developments since Defendant’s guilty plea, including his state contempt conviction, the

issuance of a Presentence Report calculating a guideline sentence of 16-21 months, and a notice

of a possible upward variance, the Court has determined it can no longer find by clear and

convincing evidence that Defendant will not likely flee.          Consequently, the Court revokes

Defendant’s bond and remands him upon his release from state detention to the custody of the

United States Marshal pending sentencing.

         Additionally, the Court has reconsidered its earlier decision granting Defendant’s motion

for a continuance of his sentence for sixty days. (Dkt. No. 134). The Court has rescheduled the

Defendant’s sentencing hearing for July 28, 2022 at 1:00 p.m.

AND IT IS SO ORDERED.
                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge
July 22, 2022
Charleston, South Carolina

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